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 8                           IN THE UNITED STATES DISTRICT COURT

 9                        FOR THE EASTERN DISTRICT OF CALIFORNIA

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11    CHRISTOPHER ELLIOTT,                               No. 2:22-CV-1236-KJM-DMC-P

12                        Plaintiff,

13            v.                                         ORDER

14    M. CAMPOSE,

15                        Defendant.

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17                  Plaintiff Christopher Elliot, a prisoner proceeding pro se, brings this civil rights

18   action pursuant to 42 U.S.C. § 1983. Pending before the Court is Defendant’s motion to opt-out

19   of the Court’s Early Alternative Dispute Resolution program. See ECF No. 38. Good cause

20   appearing therefor, Defendant’s motion will be granted, the stay of proceeding will be lifted, and

21   by separate order the Court will set a schedule for this litigation.

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 1                Accordingly, IT IS HEREBY ORDERED as follows:

 2                1.        Defendant’s motion to opt-out of the Court’s Early Alternative Dispute

 3   Resolution program, ECF No. 38, is GRANTED.

 4                2.        The stay of proceedings imposed on May 8, 2024, is LIFTED.

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 6   Dated: June 13, 2024
                                                          ____________________________________
 7                                                        DENNIS M. COTA
                                                          UNITED STATES MAGISTRATE JUDGE
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